                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE

  MICHELLE ALMANZA,                              )
                                                 )
                Plaintiff,                       )
                                                 )
  v.                                             )      No.:    3:15-CV-389-TAV-HBG
                                                 )
  JEFFERSON SESSIONS,                            )
  Attorney General,                              )
  United States Department of Justice,           )
                                                 )
                Defendant.                       )


                                            ORDER

         The Court is in receipt of the parties’ joint status report [Doc. 77]. The Court orders

  additional briefing on the following issues:

               Defendant is ordered to provide a proposed trial plan. The Court notes that
                it has not yet ruled on the jury trial issue, but at this stage it appears to the
                Court that plaintiff may have the right to a jury trial on her Title VII
                retaliation claim but that she may not have the right to a jury trial on her
                ADEA retaliation claim. Defendant should clarify whether he proposes
                conducting two independent trials, or whether and to what extent portions of
                the two trials could overlap. Defendant should also notify the Court of any
                aspects of the proposed trial plan to which plaintiff consents.

               Plaintiff is ordered to brief the damages issue raised in the joint status report.

         All additional briefing is due to the Court before 9:00 a.m. on Monday, June 11,

  2018. The parties need not submit joint filings.




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        Further, defendant may, if he wishes, file additional briefing related to what specific

  ADEA-related documents and/or potential testimony he seeks to exclude from the Title

  VII jury trial and on what grounds.

        IT IS SO ORDERED.


                                    s/ Thomas A. Varlan
                                    CHIEF UNITED STATES DISTRICT JUDGE




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